                         Case 20-12168-CSS              Doc 712        Filed 11/27/20        Page 1 of 3



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         TOWN SPORTS INTERNATIONAL, LLC, et al.,1                           Case No. 20-12168 (CSS)

                                            Debtors.                        (Jointly Administered)


                                NOTICE OF AGENDA OF MATTERS SCHEDULED
                                 FOR TELEPHONIC AND VIDEO HEARING ON
                                    NOVEMBER 30, 2020 AT 10:00 A.M. (ET)


         THIS HEARING WILL BE HELD TELEPHONICALLY VIA COURTCALL AND, IN CERTAIN
          CIRCUMSTANCES, BY VIDEO VIA ZOOM. ALL PARTIES WISHING TO APPEAR MUST
            DO SO TELEPHONICALLY BY CONTACTING COURTCALL, LLC AT 866-582-6878.
         ONLY THOSE PARTIES THAT WILL BE ADDRESSING THE COURT SHOULD APPEAR BY
               VIDEO VIA ZOOM IN ADDITION TO THEIR COURTCALL REGISTRATION.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE MUTED
                        AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

                                     Topic: Town Sports Intl 20-12168 Hearing
                          Time: November 30, 2020 10:00 A.M. Eastern Time (US and Canada)

                                                    Join ZoomGov Meeting
                                        https://debuscourts.zoomgov.com/j/1600007545

                                                    Meeting ID: 160 000 7545
                                                       Passcode: 237106


         CONTESTED MATTER

         1.       Emergency Motion of the Ad Hoc Term Lender Group for (A) Injunctive Relief Pending
                  Interpretation or (B) Amendment or Alteration of the Order (I) Authorizing the Sale of
                  Substantially All of the Debtors Assets Free and Clear of Liens, Claims, Encumbrances,
                  and Interests, (II) Authorizing the Debtors to Enter Into the Asset Purchase Agreement,
                  (III) Authorizing the Assumption and Assignment of Certain Executory Contracts and
                  Unexpired Leases, and (IV) Granting Related Relief [Docket No. 710, 11/27/20]


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            The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
         the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided
         herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
         agent at http://dm.epiq11.com/TownSports, or by contacting the undersigned counsel for the Debtors.
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                            Case 20-12168-CSS              Doc 712          Filed 11/27/20   Page 2 of 3



                    Related Documents:

                         A. Declaration of Jason Zachary Goldstein in Support of Emergency Motion [Docket
                            No. 711, 11/27/20]

                         B. Debtors’ Motion for Entry of Orders (I) Approving Bidding Procedures in
                            Connection with the Sale of Substantially All of the Debtors’ Assets,
                            (II) Approving the Form and Manner of Notice Thereof, (III) Scheduling an
                            Auction and Sale Hearing, (IV) Approving Procedures for the Assumption and
                            Assignment of Contracts, (V) Approving the Sale of the Debtors’ Assets Free and
                            Clear, and (VI) Granting Related Relief [Docket No. 160, 10/2/20]

                         C. Declaration of Christopher A. Wilson in Support of the Debtors’ Motion for Entry
                            of Orders (I) Approving Bidding Procedures in Connection with the Sale of
                            Substantially All of the Debtors’ Assets, (II) Approving the Form and Manner of
                            Notice Thereof, (III) Scheduling an Auction and Sale Hearing, (IV) Approving
                            Procedures for the Assumption and Assignment of Contracts, (V) Approving the
                            Sale of the Debtors’ Assets Free and Clear, and (VI) Granting Related Relief
                            [Docket No. 162, 10/2/20]2

                         D. Supplemental Declaration of Christopher A. Wilson in Support of the Debtors’
                            Motion [Docket No. 190, 10/8/20]

                         E. Order (I) Approving Bidding Procedures in Connection with the Sale of
                            Substantially All of the Debtors’ Assets, (II) Approving the Form and Manner of
                            Notice Thereof, (III) Scheduling an Auction and Sale Hearing, (IV) Approving
                            Procedures for the Assumption and Assignment of Contracts, (V) Approving the
                            Sale of the Debtors’ Assets Free and Clear, and (VI) Granting Related Relief
                            [Docket No. 208, 10/9/20]

                         F. Order (I) Authorizing the Sale of Substantially All of the Debtors’ Assets Free
                            and Clear of Liens, Claims, Encumbrances, and Interests, (II) Authorizing the
                            Debtors to Enter into the Asset Purchase Agreement, (III) Authorizing the
                            Assumption and Assignment of Certain Executory Contracts and Unexpired
                            Leases, and (IV) Granting Related Relief [Docket No. 639, 11/4/20]

                    Objection/Response Deadline: November 29, 2020 at 5:00 p.m. (ET)

                    Objections/Responses Filed: None to date.

                    Status: This matter will be going forward.




         2
             The physical location of this declarant is Pasadena, CA.
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                     Case 20-12168-CSS     Doc 712     Filed 11/27/20    Page 3 of 3



         Dated: Wilmington, Delaware     YOUNG CONAWAY STARGATT & TAYLOR, LLP
                November 27, 2020
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                                         Counsel to the Debtors and Debtors in Possession




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